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FoR THE wEsTsRN DISTRICT or TENNESSEE
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Plaintiffs,

v. No. 03-2112 Ml/P

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NATIONAL BAN'K OF COMIMERCE; )
a banking corporation organized )
under the laws of the United )
States of America, in its )
corporate capacity and as )
Trustee of the Memphis Equipment)
Company Employee Stock )
Ownership Plan, and LAWRENCE )
SCOTT, an individual resident )
of Cordova, Shelby County, )
Tennessee, )

)

)

Defendants.

 

OR.'DER DEN'YING MOTION TO INTERVEN'E AS A. PLAINTIFF

 

Before the Court is the Motion to Intervene as a Plaintiff
of Celia Ann Scott, filed November 16, 2004. Plaintiffs'
responded in opposition on November 29, 2004. For the following
reasons, the Court DENIES the motion.

I . BACKGROUND
Celia Ann Scott is the wife of Mr. Lawrence Scott, the

Defendant in this matter.1 Mr. Scott filed a Complaint for

 

1 Please see the Order Granting in Part and Denying in Part
Plaintiffs' Motion for Partial Summary Judgment, issued on
October 21, 2004, (Docket No. 288) for a discussion of the
factual background underlying this case.

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Divorce in Division Nine of the Circuit Court of Shelby County,
Tennessee, on February 1, 1999. After a period of
reconciliation, the Scotts proceeded with a divorce. Ms. Scott
filed her Answer and Counter Complaint in the circuit court on
April 3, 2003, and requested that the circuit court equitably
divide the parties' marital assets pursuant to Tennessee Code
Annotated § 36-4-1212, including Mr. Scott's retirement benefits
in the Memphis Equipment Company’s Employee Stock Ownership Plan
(“MEC ESOP”). Pursuant to Federal Rule of Civil Procedure 24(a),
Ms. Scott seeks leave to intervene as a Plaintiff to protect her
marital interest in Mr. Scott’s benefits under the MEC ESOP.
II . ANAL'YSIS
Federal Rule of Civil Procedure 24(a) allows an individual
to intervene as of right, and provides, in pertinent part:
Upon timely application anyone shall be permitted to
intervene in an action: ... (2) when the applicant
claims an interest relating to the property or
transaction which is the subject of the action and the
applicant is so situated that the disposition of the
action may as a practical matter impair or impede the
applicant's ability to protect that interest, unless
the applicant's interest is adequately represented by
existing parties.
Fed. R. Civ. P. 24(a)(2). In order for an individual to

intervene as of right, the following criteria must be satisfied:

“(1) timeliness of the application to intervene, (2) the

 

2 Tennessee Code Annotated § 36~4-121 provides for the
equitable division, distribution, or assignment of marital
property. Tenn. Code Ann. § 36-4-121.

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applicant's substantial legal interest in the case, (3)
impairment of the applicant's ability to protect that interest in
the absence of intervention, and (4) inadequate representation of
that interest by parties already before the court.” United
States v. Tennessee, 260 F.3d 587, 591-92 (6th Cir. 2001).
Plaintiffs contend that Ms. Scott’s motion to intervene should be
denied because the motion is untimely, Ms. Scott does not have a
substantial legal interest in the case, and because Ms. Scott's
interests in the case are adequately represented by Mr. Scott.
The Court will address Plaintiffs' contentions in turn.
The United States Court of Appeals for the Sixth Circuit has
identified the following factors for courts to consider in
determining whether a motion to intervene is timely:
l) the point to which the suit has progressed; (2) the
purpose for which intervention is sought; (3) the
length of time preceding the application during which
the proposed intervenor knew or reasonably should have
known of his [or her] interest in the case; (4) the
prejudice to the original parties due to the proposed
intervenor's failure, after he or she knew or
reasonably should have known of his [or her] interest
in the case, to apply promptly for intervention; and
(5) the existence of unusual circumstances militating
against cr in favor of intervention.

United States v. Tennessee, 260 F.3d at 592 (quoting Grubbs V.

Norris, 870 F.2d 343, 345 (6th Cir. 1989). “The determination of

whether a motion to intervene is timely should be evaluated in

the context of all relevant circumstances.” Id. (internal

quotation marks omitted). The Court will evaluate each of these

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five factors in turn.

With respect to the first factor, Plaintiffs argue that the
current litigation has progressed to a point where intervention
should not be permitted. The Sixth Circuit has noted that “the
time of intervention is not the determining factor but rather
that all circumstances must be examined to determine the
substantive progress that has occurred in the litigation.”

United States v. Tennessee, 260 F.3d at 593 (internal quotation
marks omitted). Moreover, “[i]f the litigation has made
extensive progress in the district court before [the motion to
intervene was filed] then this factor weighs against
intervention.” lgg (internal quotation marks omitted).

In the instant case, the Court finds that extensive progress
was made in the current litigation prior to the filing of the
motion to intervene. The Court has already issued orders
granting in part and denying in part Plaintiffs’ Motion for
Partial Summary Judgment, granting Plaintiff’s motion for summary
judgment as to Defendant Scott’s Counterclaim, denying Defendant
Scott’s motion for summary judgment as moot, rescinding the
Scott/MEC Restructuring transaction ab initio and dismissing with
prejudice Plaintiffs' claims against Defendant National Bank of
Commerce. In addition, this matter has already been tried and
the issues presented during the trial are now before the Court.

The Court therefore finds that this factor weighs against

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allowing Ms. Scott to intervene in the case.

The next factor concerns the purpose for which intervention
is sought. Ms. Scott moves to intervene to protect her claim to
a portion of Mr. Scott's interest in the MEC ESOP. The Court
finds that Ms. Scott has adequately stated a purpose for her
proposed intervention and finds that this factor weighs in favor
of finding a timely intervention.

The third factor addresses the length of time preceding the
application during which Ms. Scott knew or reasonably should have
known of her interest in the case. Ms. Scott contends that as a
non-party to the instant litigation she had no notice that Mr.
Scott’s interest in the MEC ESOP was at stake in the case. In
addition, she contends that the Court's order rescinding the
Scott/MEC Restructuring Transaction placed the issue of Mr.
Scott’s interest in the MEC ESOP before the Court and that she
did not become aware of that order until November 9, 2004.
Plaintiffs, on the other hand, argue that Ms. Scott was aware of
the current litigation since at least March 31, 2003, when
Plaintiff Max May moved to intervene in the Scotts’ divorce
action in the circuit court.

An applicant that is aware that his or her “interests may be
impaired by the outcome of the litigation is obligated to seek
intervention as soon as it is reasonably apparent that [he or

she] is entitled to intervene.” United States v. Tennessee, 260

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F.3d at 594. Mr. May, in his March 31, 2003, motion to intervene
in the Scotts’ divorce proceeding, not only referenced the
instant litigation against Mr. Scott, but also attached as an
exhibit to the motion a copy of the Verified Complaint describing
Scott's alleged conduct and the relief requested. In particular,
the Verified Complaint alleged that as a result of breaching his
fiduciary duties under ERISA, Mr. Scott was personally liable
under 29 U.S.C. § 1109 to make good to the MEC ESOP any losses to
the plan as a result of his breach and to restore to the plan any
profits resulting from such breach. (Pls.' Verified Compl.
(Docket No. l) I54.) Upon receipt of Mr. May's motion to
intervene and the accompanying Verified Complaint, Ms. Scott was
or should have been aware of the possibility that her interests
in Mr. Scott's MEC ESOP benefits could be impaired by the outcome
of the instant litigation. Accordingly, the Court finds that
this factor weighs against finding that Ms. Scott’s intervention
is timely.

The next factor addresses whether the parties will be
prejudiced as a result of Ms. Scott’s failure to apply for
intervention sooner. Plaintiffs contend that they “have already
been forced to incur great expense in prosecuting the case at bar
[and that] [i]f the Motion to Intervene were granted, Plaintiffs
would be prejudiced by, among other factors, the incurrence of

additional fees to the detriment of the MEC ESOP and its

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participants.” (Pls.' Resp. in Opp’n to Celia Ann Scott's Mot.
to Intervene as a Pl., at 8*9.) Plaintiffs’ argument is well-
taken and the Court therefore finds that this factor also weighs
against finding that Ms. Scott's intervention is timely.

The final factor concerns the existence of any unusual
circumstances counseling in favor of or against intervention.
Neither Ms. Scott nor Plaintiffs have identified any unusual
circumstances existing in the instant case.

Accordingly, upon evaluation of the relevant factors, the
Court finds that those factors weigh against allowing Ms. Scott
to intervene in the instant litigation. The Court therefore
DENIES Ms. Scott's motion to intervene as untimely.3
III. CONCLUSION

For the foregoing reasons, the Court DENIES Ms. Scott's

Motion to Intervene as a Plaintiff.

so ORDERED this ls day of July, 2005.

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J P. MCCALLA
ITED STATES DISTRICT JUDGE

 

3 Because the Court denies the motion to intervene on the
basis of timeliness, it does not consider Plaintiffs' contentions
regarding Ms. Scott's substantial legal interest in the case and
whether her interests can be adequately represented by Mr. Scott.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 331 in
case 2:03-CV-02112 Was distributed by faX, mail, or direct printing on
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